                         UNITED STATES DISTRICT COURT

                                  DISTRICT OF MINNESOTA

Lorenzo Haynes,
                                                 Court File No. 17-CV-05217 (DJD/HB)
                     Plaintiff,

       vs.                                       MEMORANDUM IN SUPPORT OF
                                                STATE DEFENDANTS DIANE DAU,
Samuel Iten, Ken Guggisberg, Nola               KEN GUGGISBERG, SAMUEL ITEN
Karow, Jeffery Felt, M.D., Diane Dau,           AND NOLA KAROW’S MOTION TO
Brent Plackner, P.A., Daryl Quiram,                 DISMISS SECOND AMENDED
M.D., in their individual and official                           COMPLAINT
capacities,

                     Defendants.

                                     INTRODUCTION

       Lorenzo Haynes (“Plaintiff”), pro se, brought suit against the above-named

Defendants alleging claims under 42 U.S.C. § 1983. This memorandum is filed on behalf

of Minnesota Department of Corrections (“DOC”) employees Samuel Iten, Ken

Guggisberg, Diane Dau and Nola Karow (“State Defendants”). Plaintiff also brings suit

against non-state Defendants, Jeffrey Felt, M.D., Brent Plackner, P.A. and Daryl Quiram,

M.D. All Defendants are sued in their individual and official capacities.

       On February 26, 2018, State Defendants filed their Motion to Dismiss Amended

Complaint, (Doc. 32.), pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6). State

Defendants asserted that: (1) the Eleventh Amendment barred Plaintiff’s claims for

damages against DOC employees sued in their official capacities; (2) that DOC

employees sued in their official capacities are not “persons” subject to suit under Section
1983; (3) that Plaintiff failed to state a viable section 1983 claim against Correctional

Officers Iten and Guggisberg; (4) that Plaintiff failed to state a viable section 1983 claim

against Health Service Administrators Karow and Dau; and (5) that Plaintiff failed to

state a claim of discrimination.

       After being fully briefed, the Magistrate issued a Report and Recommendation

(“R&R”), recommending that State Defendants’ Motion to Dismiss be granted in part.

(Doc. 98.) Specifically, the Report and Recommendation recommended that all claims

against State Defendants be dismissed, except for a single claim for deliberate

indifference against Nola Karow in her individual capacity. See generally Id. Plaintiff

did not file an objection to the R&R.

       On August 13, 2018, the Court adopted the R&R in its entirety. (Doc. 104.) All

official capacity claims were dismissed against State Defendants. Id. at 1-2. The gross

negligence claims raised under 42 U.S.C § 1983 against Samuel Iten and Ken Guggisberg

in their individual capacities were dismissed. Id. at 3. The deliberate indifference claim

against raised under 42 U.S.C. § 1983 against Diane Dau in her individual capacity was

dismissed. Id. The discrimination claims raised against Samuel Iten, Ken Guggisberg,

Nola Karow and Diane Dau in their individual capacities were dismissed. Id. Although

the Court noted that, in all other respects, the motion to dismiss was denied, the only

claim against State Defendants not specifically dismissed by the Court was a deliberate

indifference claim against Nola Karow in her individual capacity. Nola Karow filed her

Answer on August 27, 2018.




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       While State Defendants’ Motion to Dismiss was pending, Plaintiff moved for

leave to amend his complaint for a second time. As noted by the Court in its Report and

Recommendation (Doc. 98), “the newly asserted facts do not pertain to any of the

Defendants that are the subject of the instant motion to dismiss, and the Court will

address that motion in a separate order.” (Doc. 98, fn. 1.) On July 25, 2018, the

Magistrate issued another R&R recommending that Plaintiff be granted leave to file an

amended complaint in the form Plaintiff proposed at Doc. 64.             (Doc. 101.)    On

August 20, 2018, the Court adopted the R&R, granting Plaintiff leave to file his Second

Amended Complaint. (Doc. 105.)

       Plaintiff subsequently filed his Second Amended Complaint. (Doc. 107.) The

Second Amended Complaint is identical to his previously filed Amended Complaint

(Doc. 5.), except that it withdraws his medical malpractice claims which had been

asserted against non-state Defendants Felt, Plackner, and Quiram. The Second Amended

Complaint also contains new factual allegations against Plackner and Quiram related to

Plaintiff’s claim of discrimination. (Doc. 108, ¶52.) There are no new factual or legal

allegations against State Defendants contained in the Second Amended Complaint. See

generally Id.

       Although State Defendants do not believe it was the Court’s intention to grant

Plaintiff leave to reassert the previously dismissed claims against State Defendants, to the

extent that Plaintiff’s Second Amended Complaint (Doc. 107) is now the operative

complaint and reasserts the previously dismissed claims, State Defendants respectfully




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ask that the Court dismiss the previously dismissed claims contained in Plaintiff’s Second

Amended Complaint (Doc. 107) for the same reasons detailed in their previously filed

Motion to Dismiss (Doc. 32) as if fully set forth herein.

                                     CONCLUSION

       For all of the aforementioned reasons, State Defendants respectfully ask the Court

to dismiss the claims in Plaintiff’s Second Amended Complaint as previously detailed in

the R&R.

Dated: September 18, 2018                   Respectfully submitted,

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                                            State of Minnesota


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                                            DIANE DAU, KEN GUGGISBERG,
                                            SAMUEL ITEN AND NOLA KAROW IN
                                            THEIR INDIVIDUAL AND OFFICIAL
                                            CAPACITIES




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